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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                               Plaintiff,         )
                                                  )
                                                      No. 17 C 4011
                       v.                         )
                                                  )
                                                      Chief Judge Pallmeyer
 NDUDI ANIEMEKA and OBIAGELI                      )
 ANIEMEKA,                                        )
                                                  )
                               Defendants.        )

                                            JUDGMENT

       Pursuant to the jury verdict rendered on May 2, 2023, in favor of the United States and

against defendants Ndudi Aniemeka and Obiageli Aniemeka, on the United States’ cause of action

under the False Claims Act, 31 U.S.C. § 3729(a)(1), Dkt. 221, including the jury’s answers to

special interrogatories, determining that defendants caused 158 false claims to Medicare, and that

Medicare paid $425,976.32 on those false claims, Dkt. 224 (sealed),

       JUDGMENT is entered in favor of the United States and against Ndudi Aniemeka and

Obiageli Aniemeka, jointly and severally, in the amount of $3,015,928.96 (Judgment Amount),

plus costs to the United States. The Judgment Amount is made up of the following statutory

elements, pursuant to 31 U.S.C. § 3729(a)(1), with penalties adjusted by 28 CFR § 85.3(a)(9):

       1.      Treble damages in the amount of $1,277,928.96; and

       2.      Civil penalties of $11,000 per false claim, in the amount of $1,738,000.
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      Execution on the judgment is not stayed by Rule 62(a), and the United States may

commence enforcement immediately.


                          E N T E R:
                                              Rebecca R. Pallmeyer, Chief Judge
                                              United States District Court

         May 12, 2023
Dated: _____________________




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